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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

ANGELICA WOODS,                                )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       Case No. 4:21-cv-00462
                                               )
CITY OF ST. LOUIS, MO, a municipal             )       JURY TRIAL REQUESTED
corporation, and                               )
                                               )
JAMES (JAMIE) WILSON, in his                   )
Individual and official capacities,            )
                                               )
               Defendants.                     )

                                          COMPLAINT

                                  PARTIES & JURISDICTION

       1.      Plaintiff, Angelica Woods (hereinafter “Woods”) is an individual who lives in St.

Louis, Missouri in the Eastern Division of the Eastern District of Missouri. She was employed

by the City of St. Louis in the Towing Service Division of the Street Department until her

wrongful discharge on or about February 4, 2021.

       2.      Defendant City of St. Louis (hereinafter “City”) is a charter city organized and

existing under the laws of the State of Missouri, located in the Eastern Division of the Eastern

District of Missouri.

       3.      Defendant James (Jamie) Wilson (hereinafter “Wilson”) is and was at all times

relevant herein the Director of the Department of Streets for the City of St. Louis. He is sued in

his individual and official capacities.

       4.      This action is brought pursuant to 42 U.S.C. §1983 and the First Amendment to

the United States Constitution, as well as Ordinance 70847. This Court has jurisdiction over this
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action pursuant to 28 U.S.C. §1331. Plaintiff further invokes the supplemental jurisdiction of

this Court to hear and decide claims arising under state law pursuant to 28 U.S.C. §1367.

       5.      Plaintiff requests a jury trial pursuant to Federal Rule of Civil Procedure 38(b).

       6.      Venue is proper in the Eastern Division of the Eastern District of Missouri

pursuant to 28 U.S.C. §1391(b) because all Defendants reside therein and all of the events

complained of herein occurred within the Eastern Division of the Eastern District of Missouri.

                              FACTS COMMON TO ALL COUNTS

       7.      Woods was employed by the City of St. Louis for over 23 years until her

wrongful discharge. She originally worked in the City’s Division of Corrections until she

suffered a line of duty injury. As a result of this injury, she was wrongfully terminated by the

City but was ordered reinstated by its Civil Service Commission.

       8.      After her reinstatement, in April 2020, Woods was assigned to the Towing

Service Division and more specifically the City’s tow lot as a Clerk Typist because her line of

duty injury prevented her from working in the Division of Corrections.

       9.      The City’s towing services have been plagued with scandal for years. In 2009, a

retired city police officer was charged with defrauding vehicle owners, lien holders, and buyers

when vehicles were towed by a company under contract with the St. Louis Police Department.

       10.     In 2014, City employees at the city’s tow lot were charged with stealing personal

property from vehicles being stored on the lot.

       11.     In June 2019, KMOV reported that a stolen car that ended up at the City’s tow lot

was found at the home of a tow lot employee and that cars that were supposed to be crushed for

scrap were being removed from the lot, among other things. This misconduct was reported to the

City by a tow lot employee and State Senator.



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         12.   The tow lot employee who reported this misconduct to the City and local media

was retaliated against by Defendants when he was moved from the Streets Division and assigned

to another City department because he “talked too much.”

         13.   In December 2019, the City hired a commissioner of the towing division to

supervise the City tow lot. When he reported similar misconduct, to include but not be limited to

missing cars and files to Defendant Wilson and others, he was fired without explanation.

         14.   Shortly after Woods began working at the City tow lot in April 2020, other tow

lot employees began telling her she could get cheap cars for herself, family members, and friends

at the City tow lot. Woods made it clear that she was not interested in participating in what she

suspected to be improper/illegal conduct at the City tow lot.

         15.   Woods began reporting unsafe and suspected illegal activity to her supervisors, at

the time not knowing that when previous employees had reported similar misconduct, they had

been retaliated against as set forth above.

         16.   By way of example, Woods reported to her supervisors that co-workers at the tow

lot were not wearing masks in the office, as required, and not practicing social distancing, even

when co-workers suspected they might have Covid. Additionally, during a time when access

was supposed to be restricted in the office due to Covid, friends and family members of tow lot

employees were coming into the office without masks. When the boyfriend of an employee and

others allowed into the office tested positive for Covid, no one was quarantined. When Woods

questioned this, she was told City tow could not shut down because employees were exposed to

Covid.    Because Woods is a single mother with three children, two who are disabled, it was of

particular concern to her that co-workers at the City tow lot were not following the requirements

the City imposed on other businesses during the pandemic.



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       17.     Woods also reported altercations that were taking place at the City tow lot

between employees because they made her feel unsafe.

       18.     Additionally, but without waiver of the foregoing, on or about November 18,

2020, Woods reported to Kent Flake, Commissioner of Streets, that co-workers at the tow lot

were: overcharging tow fees; misusing City time (not working while on the clock); sleeping on

the job; falsifying documents by putting no name or a false address on documents when cars

were purchased from the tow lot; towing and storing personal vehicles on the tow lot, and doing

private tows while dispatched calls were waiting. She also reported that cars were being

removed from the tow lot after hours. Woods reported that several people, who did not work for

the City, were going through City tow lot files looking for vehicles and later purchasing them.

These same individuals would go into the key room to get car keys to inspect vehicles on the lot.

Woods also reported that a specific individual was attending auctions and placing the highest bid

to purchase a vehicle but that the price was changed and lowered when he actually paid for it.

She reported some of these vehicles were then being transferred to tow lot employees.

       19.     Shortly after reporting this misconduct to Flake, co-workers at the tow lot started

calling Woods a snitch and subjecting her to a hostile work environment in an effort to force

Woods to quit or provoke her so that she would be fired.

       20.     The hostile work environment resulted in Woods requesting FMLA leave for

stress from November 25, 2020 to December 11, 2020.

       21.     Additionally, Woods spoke to Wilson in December 2020 about people coming

into the office that did not work there; employees sleeping on the job and misusing time; cars

being removed after hours; falsifying documents; towing and storing personal vehicles on the

tow lot; people coming to reclaim their cars when they were already gone and the person stating



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they were never notified their car was at the tow lot; police officers being stranded when their

police cars broke down because drivers would not answer these priority calls; police officers

getting courtesy tows of their private vehicles; and supervisors making up rules because there

were no written policies or procedures, which were needed at the tow lot, among other things.

Wilson simply responded that he would talk to Flake but nothing changed, except employee’s

personal vehicles were removed from the tow lot.

       22.     After Woods spoke to Wilson to harassment at the tow lot increased.

       23.     Beginning in October 2020, Woods begin reporting this misconduct to the St.

Louis Comptroller’s Office and began providing information to it about the fraud and other

financial improprieties she believed to be taking place at the City tow lot. Additionally, Woods

reported this misconduct to the Mayor’s Office, the Director of Operations, and the Personnel

Department.

       24.     On or about January 19, 2021, Woods through counsel, complained about the

hostile work environment she was suffering in retaliation for reporting misconduct at the City

tow lot pursuant to the City’s Whistleblower Ordinance.

       25.     On or about January 21, 2021, Woods was notified that the City intended to fire

her, and a pretermination review was scheduled before Defendant Wilson, who had previously

retaliated against two other tow lot employees when they dared to report this misonduct. Even

though the allegations against Woods dated to November and December 2020, and were known

to Defendant Wilson because of grievances Woods had filed, he did act to terminate Woods until

he learned that Woods had reported misconduct at the City tow lot to the Comptroller’s Office.

       26.     On February 1, 2021 Woods (with counsel) met with Defendant Wilson for the

purported pretermination review, even though it was clear he could not be a fair and impartial



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decisionmaker based upon his removal of other whistleblowers assigned to the tow lot to protect

those engaging in the misconduct. In addition to defending the allegations made against her that

were being used to justify her termination, Woods informed Defendant Wilson that because the

City was doing nothing about her reports of misconduct, she had gone to the media about it.

Defendant Wilson admitted that he was aware of this media contact because before the

pretermination review, KSDK had contacted him about a story it planned to air before the

pretermination review.

        27.     During this meeting, Defendant Wilson made the incredible claim that he was

unfamiliar with the allegations that Woods had reported to the City and media, even though

Woods had reported this misconduct to Wilson and his direct report, Flake.

        28.     On February 4, 2021, KSDK reported that the problems that triggered a police

investigation in 2019 continued to be present at the City tow lot, to include but not be limited to

allegations made by Woods that cars were leaving the tow lot with no money being paid for them

and cars being “sold” to buyers without a valid name or address.

        29.     In the same KSDK interview, the fired tow lot commissioner stated that there

were too many vehicles and too many files missing to be a mistake and that it was the citizens of

St. Louis who were being scammed.

        30.     In this same KSDK interview, Flake admitted that cars should not be leaving the

City tow lot for free.

        31.     The KSDK story in which Woods participated led to the disclosure of other

misconduct at the City tow lot, to include but not be limited to owner’s of stolen cars being

charged for the return of their vehicles in violation of City Ordinance.

        32.     The next day, February 5, 2021, Defendant Wilson terminated Woods for



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pretextual reasons, just as he had retaliated against the two previous tow lot employees who

dared to report misconduct at the City tow lot.

        33.    Upon information and belief, Defendant Wilson’s wrongful termination of Woods

was designed and intended to send a message to other City employees, and more specifically

other City tow lot employees, that they better not report serious misconduct involving the tow lot

because the City of St. Louis is more interested in covering up this misconduct and protecting the

wrongdoers than correcting it.

        34.    On or about March 19, 2021, a City audit of the tow lot conducted by the

Comptroller’s Office confirmed claims reported by Woods.

        35.    On or about March 23, 2021, KSDK reported that the audit confirmed what

Woods told KSDK: that nicer vehicles intentionally were not auctioned as they were supposed to

be.

        36.    As a direct and proximate result of the acts of the Defendants, Woods

has sustained and will continue to sustain lost wages and other benefits of employment, to

include but not be limited to lost pension benefits.

        37.    As a direct and proximate result of the acts of the Defendants, Woods has

incurred attorney’s fees related to defending against the effort to terminate her.

        38.    As a direct and proximate result of the acts of the Defendants, Woods has

suffered and will continue to suffer emotional pain and suffering, mental anguish, inconvenience,

humiliation, embarrassment, loss of enjoyment of life, stress and loss of personal and

professional reputation.

                                     COUNT I
      42 U.S.C. SECTION 1983 VIOLATION OF PLAINTIFF’S FIRST AMENDMENT
                            RIGHTS - WHISTLEBLOWER



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       For Count I of Plaintiff’s cause of action against Defendants, she states as follows:

       39.     Plaintiff incorporates by reference as if fully set forth herein all preceding

paragraphs of her Complaint.

       40.     Woods was retaliated against by Defendants when she was terminated based upon

the exercise of her First Amendment right to speak as a private citizen about matters of public

concern as set forth above.

       41.     Woods’ speech was a motivating factor and/or played a part in the Defendants’

decision to terminate her.

       42.     Woods’ constitutionally protected interest in her right to speak about matters of

public concern outweighs any interests Defendants might have had in preventing such speech.

       43.     Woods’ protected speech, which was made at a reasonable time and in a

reasonable manner when she was not working, did not render the running of the Towing Service

Division inefficient and did not disrupt its operations in any way.

       44.     Woods’ termination was an adverse employment action in which the Defendants

named herein participated, explicitly or tactility authorized, approved, and/or ratified, and/or to

which they showed a reckless indifference, while acting under color of state law.

       45.     Woods’ termination was an action taken under color of state law by Defendants

and violated her rights secured by the First Amendment to the United States Constitution made

applicable to the states by the Fourteenth Amendment.

       46.     As a direct and proximate result of the acts of the Defendants set forth herein,

Woods has sustained and will continue to sustain lost wages and other benefits of employment,

to include but not necessarily limited to lost pension benefits.

       47.     As a direct and proximate result of the acts of the Defendants, Woods has



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incurred attorney’s fees related to defending against the effort to terminate her.

       48.     As a direct and proximate result of the acts of the Defendants, Woods has

suffered and will continue to suffer emotional pain and suffering, mental anguish, inconvenience,

humiliation, embarrassment, loss of enjoyment of life, stress, and loss of personal and

professional reputation.

       49.     The conduct of Defendant Wilson as set forth herein was wanton, willful, and

showed a reckless indifference to Woods’ First Amendment rights, justifying an award of

punitive damages against him in his individual capacity so as to punish him and to deter him and

others from engaging in similar misconduct in the future.

       WHEREFORE, Plaintiff Woods prays this Court to enter judgment in her favor and

against Defendants and thereafter:

       A.       Order these Defendants to make Plaintiff whole for any and all losses or damages

she has sustained and will continue to sustain in the future, including lost wages and other

benefits of employment and attorney’s fees related to her efforts to defend against her wrongful

termination;

       B.      Award damages to Plaintiff for her emotional pain and suffering, mental anguish,

inconvenience, humiliation, embarrassment, loss of enjoyment of life, stress, and loss of

reputation;

       C.      Award Plaintiff punitive damages against Defendant Wilson in his individual

capacity in such sum as this court believes will serve to punish him and to deter him and others

from like conduct;

       D.      Award Plaintiff the costs of this action, together with her reasonable attorneys’

fees; and



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       E.       Grant such other relief as may appear to the Court to be equitable and just under

the circumstances.

                                   COUNT II
              PRIVATE RIGHT OF ACTION CREATED BY CITY ORDINANCE

       For Count II of Plaintiff’s cause of action against Defendant City of St. Louis, she states

as follows:

       50.      Plaintiff incorporates by reference as if fully set forth herein all preceding

paragraphs of her Complaint.

       51.      Defendant City’s termination of Plaintiff violates Ordinance 70847, the City’s

Whistleblower Law, which prohibits an employee from being retaliated against for engaging in

protected activity under the Ordinance.

       52.      Plaintiff engaged in protected activity under Ordinance 70847 when she reported

fraud and other financial impropriety to the Comptroller’s Office and others as set forth above.

Plaintiff also engaged in protected activity when she reported the violation of this Ordinance to

the Department of Personnel.

       53.      Ordinance 70847 protects a class of persons, whistleblowers, from retaliation

through adverse employment actions to include but not be limited to the adverse employment

actions Woods suffered to include but not be limited to dismissal, an unsatisfactory employment

evaluation, verbal abuse, intimidation and a hostile work environment because she took action

protected by the Ordinance.

       54.      Ordinance 70847 provides the following remedies to employees subjected to an

adverse employment action for reporting improper government action: restitution, reinstatement,

and/or reimbursement for lost wages or expenses incurred, among others. The ordinance also

provides that “[n]othing in this Ordinance shall prohibit an employee from pursuing his or her

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own private action to seek damages or other remedies beyond those awarded by the City.”

         55.    A remedy is appropriate and necessary to promote the primary purpose of

Ordinance 70847 and needed to ensure the effectiveness of this Ordinance because Defendant

City is protecting those who have retaliated against Woods, not Woods as required by Ordinance

70847.

         56.    This court should afford a remedy to Woods by recognizing a private right of

action to enforce Ordinance 70847, which the Ordinance itself recognizes.

         57.    Missouri courts recognize the common law principle that where there is a right,

there is a remedy. Therefore, when a legislative enactment confers a special benefit on a class,

members of that class have a right to bring a cause of action to enforce the right/benefit.

         58.    Ordinance 70847 was designed to specifically protect City employees, like

Woods who expose fraud and other financial improprieties from retaliation like the retaliation

she suffered. Therefore, Woods has a right to bring a private cause of action to enforce the rights

conferred upon her and other City employees by Ordinance 70847, otherwise Ordinance 70847 is

meaningless, as the City has shown that it does not intend to enforce it.

         59.    When Woods reported misconduct at the City tow lot to the Comptroller’s Office,

she was told she would be protected by Defendant City by reasons of Ordinance 70847, but she

has not been.

         60.    As a direct and proximate result of the acts of the Defendant City set forth herein,

Woods has sustained and will continue to sustain lost wages and other benefits of employment,

to include but not necessarily limited to lost pension benefits.

         61.    As a direct and proximate result of the acts of Defendant City, Woods has

incurred attorney’s fees related to defending against the effort to terminate her.



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       62.     As a direct and proximate result of the acts of the Defendants, Woods has

suffered and will continue to suffer emotional pain and suffering, mental anguish, inconvenience,

humiliation, embarrassment, loss of enjoyment of life, stress, and loss of personal and

professional reputation.

       WHEREFORE, Plaintiff Woods prays this Court to enter judgment in her favor and

against Defendant City of St. Louis and thereafter:

       A.      Order this Defendant to make Plaintiff whole for any and all losses or damages

she has sustained and will continue to sustain in the future, including lost wages and other

benefits of employment and attorney’s fees related to her efforts to defend against her wrongful

termination;

       B.      Award damages to Plaintiff for her emotional pain and suffering, mental anguish,

inconvenience, humiliation, embarrassment, loss of enjoyment of life, stress, and loss of

reputation;

       C.      Award Plaintiff the costs of this action, together with her reasonable attorneys’

fees; and

       D.      Grant such other relief as may appear to the Court to be equitable and just under

the circumstances.




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                                      Respectfully submitted,

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